Case 1:19-cv-24147-MGC Document 25 Entered on FLSD Docket 10/21/2020 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 19-24147-Civ-COOKE/GOODMAN

  MAURA PROENZA,

         Plaintiff,

  vs.

  ANDREW SAUL,
  Commissioner of Social Security,

        Defendant.
  ____________________________________/
                       ORDER ADOPTING MAGISTRATE JUDGE’S
                          REPORT AND RECOMMENDATION
         THIS MATTER was referred to the Honorable Jonathan Goodman, United States
  Magistrate Judge under 28 U.S.C. § 636(b)(1)(B) and the Clerk’s directive for a ruling on all
  pre-trial, non-dispositive matters, and for a Report and Recommendation on any dispositive
  matters. ECF No. 2. On April 16, 2020, Plaintiff filed a Motion for Summary Judgment. ECF
  No. 17. On May 18, 2020, Defendant filed a combined Motion for Summary Judgment and
  Response to Plaintiff’s Motion for Summary Judgment. ECF No. 19. On August 4, 2020,
  Judge Goodman issued a Report recommending that I find in favor of Defendant and affirm
  the Commissioner’s decision. ECF No. 22. Plaintiff filed objections to Judge Goodman’s
  Report, ECF No. 23, to which Defendant filed a response, ECF No. 24. I have reviewed the
  matter de novo and find Judge Goodman’s Report clear, cogent, and compelling.
         Accordingly, the Court AFFIRMS and ADOPTS Judge Goodman’s Report (ECF
  No. 22), GRANTS Defendant’s Motion for Summary Judgment (ECF No. 19), and DENIES
  Plaintiff’s Motion for Summary Judgment (ECF No. 17). The Court will separately issue a
  final judgment under Federal Rule of Civil Procedure 58. In the interim, the Court DENIES
  as moot all pending motions and Orders the Clerk to CLOSE this case.
Case 1:19-cv-24147-MGC Document 25 Entered on FLSD Docket 10/21/2020 Page 2 of 2



          DONE and ORDERED in Chambers, at Miami, Florida, this 21st day of October
  2020.




  Copies furnished to:
  Jonathan Goodman, U.S. Magistrate Judge
  Counsel of record
